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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                           UNITED STATES DISTRICT COURT                                January 12, 2021
                            SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
VS.                                            §   CRIMINAL ACTION NO. 4:21cr0009
                                               §
Robert T Brockman                              §                     Judge George C. Hanks, Jr.
                                               §
                                               §

                                  SCHEDULING ORDER

 1. January 26, 2021              All motions will be filed no later than this date All motions
                                  except motions to suppress evidence and motions to dismiss
                                  will contain an averment that the movant has conferred with
                                  the respondent and that counsel cannot agree about the
                                  disposition of the motion.

 2. February 9, 2021              Response to motions will be filed no later than this date.

 3. February 19, 2021             Pretrial Conference before Judge George C. Hanks, Jr.
    @ 10:00 AM                    United States Courthouse, 515 Rusk, Courtroom 600,
    DEFENDANT MUST BE             Houston, Texas.
           PRESENT

 4. March 1, 2021                 This case is set for jury trial on this date and time. No later
    @ 9:00 AM                     than one business day before this date each counsel will file
                                  and deliver to opposing counsel and to the court’s chambers
                                  a proposed charge to the Jury, an exhibit list, copies of all
                                  documents and photographs to be offered as exhibits, and a
                                  witness list.

5.                                 Estimated trial time

The court will not consider any papers filed within seven days of any conference, hearing, or
sentencing unless counsel delivers copies of such papers to chambers the day they are filed.

Direct questions regarding this schedule to Susan Gram, Case Manager, U.S. District Clerk's
Office, 515 Rusk, Fifth Floor, Houston, TX 77002. Phone: 713-250-4506.

       SIGNED at Houston, Texas on _______________________, 20___.




                                                           United States Magistrate Judge
